Case 4:05-cv-40153-FDS Document 22-2 Filed 09/22/05 Page 1 of 19

Exhibit 1
Case 4:05-cv-40153-FDS Document 22-2 Filed 09/22/05 Page 2 of 19

IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MASSACHUSETTS

CENTRAL DIVISION
)
HEWLETT-PACKARD COMPANY, )
and HEWLETT-PACKARD )
DEVELOPMENT COMPANY, L.P. )
) Civil Action No.:
Plaintiffs, ) 05-40153-(FDS)
)
V. )
)
ICL NETWORK SOLUTIONS )
(HK) LIMITED )
Defendant. )
)
)

DECLARATION OF IRENE CHUA

. My name is Irene Chua, and I am an owner of ICL Network Solutions (HK)

Limited. I have been with the company since June 23, 2004.

This declaration is made based on my personal knowledge, and I am competent
to testify to the subjects herein should I be called upon to do so.

ICL Network Solutions (HK), Lid. was founded on March 30, 2004 and is an
independent distributor for various networking and storage products.

ICL Network Solutions is a small, privately held Limited Hong Kong company.

Our registered business address is 1601-1603 Kinwick Centre, 32 Hollywood

Road, Central, Hong Kong. Our telephone and fax numbers are likewise in

Hong Kong, and so are Hong Kong exchanges: Telephone: (852) 2851-2272

and Fax: (852) 2545-0550. We are not listed in any U.S. directory.
Case 4:05-cv-40153-FDS Document 22-2 Filed 09/22/05 Page 3 of 19

5. ICL Network Solutions have no place of business, no employees, no sales
representatives, no distributors and no agents in Massachusetts or anywhere in
the United States, and our company is not licensed to do business anywhere in
that country, and we do not pay taxes there.

6. ICL Network Solutions also have no offices, no property, no personnel, no
manufacturing facilities, and no bank accounts in the U.S.

7. Our company does not advertise in any U.S. magazine or newspaper, and ICL
Network Solutions attends no trade shows in the U.S.

8. Customers purchase products from us by contacting us.

9. Our products are always new, in unopened boxes, unless they are specified as
refurbished, used, pulls, etc. ICL Network Solutions do not open the boxes
when the goods are delivered to us by the vendor. We deliver in the same
condition and state as it was delivered to us, without altering anything
whatsoever.

10. Our company has only recently started offering hardware products, and we were
shocked to learn that Hewlett Packard believes that products we were sold are
not real Hewlett Packard products. We purchased them in good faith from a
reputable company located in China.

11. The products appeared to us to be in the original packaging. We did not design, ~
reproduce, manufacture, or have them made in the U.S., or anywhere else. And
in particular, ICL Network Solutions has never designed, manufactured, or sold

any accused hard drives in Massachusetts.
Case 4:05-cv-40153-FDS Document 22-2 Filed 09/22/05 Page 4 of 19

12. In fact, we have been very careful to properly use the trademarks of others, and
have made sure to advise the public of their rights. As an example, this is the
statement that appears throughout our company’s website: “All SUN, Compaq,
Cisco, 3COM, Hewlett Packard and IBM products and product service names
mentioned herein and in linked pages are trademarks, or registered trademarks
of their respective owners/companies or mark holders. ICL Network Solutions
(HK) Ltd. is an independent dealer and is in no way affiliated with Sun
Microsystems or any other company.”

13. ICL Network Solutions did sell the same part number that Hewlett Packard
complains about to a customer back in July of this year. Copies of those
invoices, redacted to preserve our customer’s confidentiality, are attached as
Exhibit A.

14. Our company received payments from that customer over several days in July
2005, directly to our Hong Kong bank. The payments were TT (telegraphic
transfer) in advance, and our customer made full payment before we released
the products to them. In Exhibit B are redacted copies of the statements from
our bank account showing the wire transfers.

15. The products were in our vendor’s warehouse in China when we received
payment in full from our customer, and only upon receipt of payment did we
place the order to our vendor.

16. ICL Network Solutions do not now own the products that Hewlett Packard is

objecting to, and did not own them at the time we were sued.
Case 4:05-cv-40153-FDS Document 22-2 Filed 09/22/05 Page 5 of 19

17.

18.

19.

20.

As our company’s invoice states, “Title and risk of loss for the goods identified
in this invoice pass to the Buyer upon receipt by Seller of Buyer’s payment in
full.”

We have had no control over the products we sold since they were sold back in
July of 2005.

We did not hire the freight forwarder, Worcester Air Freight, mentioned in the
complaint and we have never communicated with them or done any business
with them. We cannot control what they do.

At the request of our customer, we did inquire whether a California company

- identified by our customer would be interested in acquiring the hard drives from

21.

22,

our customer, but we did so as a favor, not as the owners of the goods. In fact,
the cost of shipping the samples to that company from our customer’s
warehouse were not paid for by us.

As far as we know, this is the first time any Hewlett Packard products that we
have sold ever arrived in Massachusetts, although I suppose it is possible that
some product reached the U.S. without our knowledge, since our customers
have no obligation to tell us what they do with the hardware after purchase.

I see that Hewlett Packard thinks ICL Network Solutions sold some products to
Computer Superstore, Fred Farahmand, The Comp Ltd., Hersel Neman, or

Robert Neman back in 2003. ICL Network Solutions never sold any products to
Case 4:05-cv-40153-FDS Document 22-2 “Filed 09/22/05 Page 6 of 19

17, As our company’s invoice states, “Title and risk of loss for the gopds identified
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warehouse were not paid for by us.

21. I see that Hewlett Packard thinks ICL Network Solutions sold some products to

Computer Superstore, Fred Farahmand, The Comp Ltd., Hersel Neman, or
Rohett Neraan hack in 200% TCT Netumel Salitians navar onld nest penduates te
these companies or people, and could not have done since ICL Network

Solutions was not incorporated until 2004.

I hereby swear under the pains and penalties of perjury that the foregoing is true to the
best of my knowledge and belief.

FURTHER AFFIANT SAYETH NOT. ‘
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MA eS . | ne
Date \ , ‘Tren¢ Chua
Case 4:05-cv-40153-FDS Document 22-2 Filed 09/22/05 Page 7 of 19

Exhibit A
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1601- 03 Kinwick Centre
32 Hollywood Road, Central Hong Kong - Date Number
Phone: (852) 2851 2272

Fax: (852) 2545 0550 7/21/2005 1303

Bill to Ship to

| REDACTED - REDACTED

PO NUMBER TERMS SHIP DATE SHIP VIA Ex WORKS
4 000612 . TT in Advance 7/21/2005 DHL Hong Kong
= | QTY | ITEMCODE DESCRIPTION PRICE EACH | AMOUNT
5 120 286778-B22 |72.8GB U320 SCSI 15KRPM : een.
: Serial Nos.: R E D C le e
o™. 705QLSJ13F, 7031LS313F, 7032LS313F, 7033LS913F,

a 7034LSJ13F, 7035LS313F, 7036LSJ13F,

7037LSJ13F , 7O38LS313F, 7O39LS313F,
7O3ALSJ13F,703BLSI13F, 703CLSJ13F, 703DLS313F,
JOZELSIJI3F ,7O3FLSI1I3F, 7O3GLSII3F ,
7O3HLSI13F, 703ILSJ13F, 7O3KLSIJI3F, 703LLSJ13F,
7O3MLSJ13F, 7O3NLSJ13F, 703PLSJ13F, *
703QLSJ13F, 7O3RLSJ13F, 703SLSJ13F, 7O3TLSII3F, |
7O3ULSI13F, 703VLSI13F, 7O3WLSI13F,
703XLSJ13F, 7OSYLSJ13F, 703ZLSJ13F, 70411LS)13F,
7042LS313F, 7043LS313F, 7O44LSJ13F, 7O45LSI13F,
7046LSJ13F, 7047LSJ13F , 7048LS313F,
7049LSJ13F ,704ALS)13F, 704BLSJ13F, 704CLS313F,
7O4DLSII3F, 7ZO4ELSJISF, 7O4FLSIISF,
7O04GLSJ13F, 7O4HLSI13F, 7O4ILSI1I3F ,
7O4KLSJI3F, ZOALLSIISF, 7O4MLSI1I3F,
) 7O4NLSJISF,

704PLSJISF, 704QLSJ13F, 7O4RLSI13F, 7C04SLSJ13F,
704TLSJ13F, 7O4ULSIJ13F, 7O4VLSI13F ,
JOAWLSIISF, 704XLSII3F, 704YLSI13F,
704ZLSJ13F, 7OSILSJ13F ,7052LS313F, 7053LS313F,
7054LSI13F, 7O55LS313F, 7056LS313F, 7057LSI13F,
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#90 Days Warranty

Title and iitreids Ggbice pass to the Buyer upon
Buyer ag comply with US and Cana aNeaas jaws, and all laws of the importing country. Products should not be sold or
diverted to any organizations, countries, or any end-users, whether your customer or your customer's customer who are invoive or
identified as engaging in activities related to nuclear / chemical / biological weapons or missile technology or other activities
related to the proliferation or weapons of mass destruction. All such end-users / applications require Individual Validated Export
Licenses (IVL's} from the US Department of Commerce. Payment by the Buyer constitutes the acceptance of the terms and
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Buyer or the Seller.

- RETURN CLAUSE: Our Return Merchandise Agreement (RMA) gives you a maximum of 30 days (or less depending on ICL Vendor's

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» Phone: (852) 2851 2272
* Bax: (852) 2545 0550

ICL NETWORK: SOLUTIONS (HR) ZLIMIPED2/05 Pag eice

1601-03 Kinwick Centre
32 Hollywood Road, Central Hong Kong Date Number

7/21/2005 41303

Bill to , Ship to

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7OS5ULSI13F, 705VLS313F,705WLSJ13F,705XLSI13F,

7O5YLSJ13F, 705ZLSI13F, 7061LS313F,

7062LS313F, 7063LSJ13F, 70641SJ13F, 70651J13F,

7066LS313F , 7067LSJ13F , 7068LSI13F,

7069LS)13F, 706ALSJ13F, 706BLSJ13F,

706CLSJ13F,706DLSJ13F, 706FLSJ13F, 7OGHLSI13F |

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. Country of Origin: China 10 If ¥ Sy cH |
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ax: (852) 2545 0550 7/43/2005 | 1293
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PO NUMBER TERMS SHIP DATE SHIP VIA Ex WORKS
000612 TT in Advance 7/13/2005 DHL Hong Kong
QTY ITEM CODE DESCRIPTION PRICE EACH | AMOUNT
80 286776-B22 | 36GB 15K RPM Hard Disk Drive for ML570 : :
S Serial Nos. REDACTED

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07GLSH11D, 7181LSH11D, 7067LSH11D, 7068LSH11D,
7069LSH11D, 70GELSH11D, 706QLSH11D,
7OGTLSH11D, 7OGWLSH11D, 707DLSH11D, 707FLSH11D,
707HLSH11D, 7073LSH11D, 707KLSH11D,
7110LSH11D, 7111LSH11D, 7112LSH11D, 7113LSH11D,
7114LSH11D, 7115LSH11D, 7116LSH11D,
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7137LSH11D, 71381SH11D, 7139LSH11D,
7140LSH11D, 7141LSH11D, 7142LSH11D, 7143LSH11D,
7144LSH11D, 7145LSH11D, 7146LSH11D,
7147LSH11D, 7148LSH11D, 7149LSH14D, 7151LSH11D,
7152LSH11D, 7153LSH11D, 7154LSH11D,
7155LSH11D, 7156LSH11D, 7157LSH11D, 7158LSH11D,
7159LSH11D, 7160LSH11D, 7161LSH11D,
7162LSH11D, 7163LSH11D, 7165LSH11D, 7166LSH11D,
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7174LSH11D, 7180LSH11D, 7181LSH11D

7182LSH11D, 7186LSH11D & 7302LSH11D

Country of Origin: China

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varranty will follow as validity period that which comes sooner.
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32 Hollywood Road, Central Hong Kong - Date Number:

Phone: (852) 2851 2272 — ,

Fax: (852) 2545 0550 7/13/2005 1293
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PO NUMBER TERMS SHIP DATE SHIP VIA Ex WORKS
000612 TT in Advance 7/13/2005 DHL Hong Kong
QTY | | ITEM CODE DESCRIPTION PRICE EACH | AMOUNT

PRODUCTS ARE MADE OF PLASTIC AND ALLOY METAL
PRICES ARE IN U.S. DOLLARS

IN BEHALF OF ICL NETWORK SOLUTIONS (HK), LTD.
Authorized Signatory 90 Days Warranty

Titte and risk of loss for the goods identified in this invoice pass to the Buyer upon
Buyer agrees to comply with US and Canada Export laws, and all laws of the importing country. Products should not be sold or
diverted to any organizations, countries, or any end-users, whether your custemer or your customer's customer who are involve or
identified as engaging In activities related to nuclear / chemical / biological weapons or missile technology or other activities
. related to the proliferation or weapons of mass destruction. All such end-users / applications require Individual Validated Export
Licenses (IVL's) from the US Department of Commerce. Payment by the Buyer constitutes the acceptance of the terms and
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32 Hollywood Road; Central HongKong Ds Document 22-2 Filed 09/24/05 PA Re 12] of umber
Phone: (852) 2851 2272 w/16
Fax: (852) 2545 0550 /16/2005 1297
~ Bill to Ship to
PO NUMBER TERMS SHIP DATE SHIP VIA Ex WORKS
000612, TT in Advance | 7/16/2005 DHL Hong Kong
QTY ITEM CODE DESCRIPTION ‘PRICE EACH | AMOUNT

119 286776-B22

36GB 15K RPM Hard Disk Drive for ML570

Country of Origin: China .
Harmonized Code: 8473.30.0000

PRODUCTS ARE MADE OF PLASTIC AND ALLOY
METAL

PRICES ARE IN U.S, DOLLAR

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warranty will follow as validity period that which comes sooner. .
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1601-03 Kinwick Centre :
32 Hollywood Road, Central Hong Kong ‘Date Number
Phone: (852) 2851 2272
Fax: (852) 2545 0550 7/45/2005 1296

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PO NUMBER TERMS SHIP DATE SHIP VIA Ex WORKS
000612 TT in Advance 7/15/2005 DHL Hong Kong
- QTY ITEM CODE DESCRIPTION PRICE EACH | AMOUNT
90 286778-B22 |72.8GB U320 SCSI 15KRPM
{- 202BLSJ13F, 7001LSJ13F,7002LSJ13F, 7003LS}13F,
7004LS313F, 7005LS313F
7006LSJ13F, 7007LSJ13F, 7008LS}13F, 7009LSJ13F,
700ALS313F, 700BLSJ13F
7OOCLSIL3F, 700DLSI13F, 7OOELSII3F, 700FLSII3F, | /H 2077 942
700GLSJ13F, 700HLSJ13F
7003LS313F, 700KLS313F, 70OLLSJ13F, 700MLSIJ13F,
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701DLSI13F, 701ELSIJ13F, 701FLSJ13F, 701GLSJ13F,
701HLSJ13F, 7013LSJ13F hd 300,,
701KLSJ13F, 701LLSJ13F, 701MLSJ13F, TA
701NLS313F, 701PLSIJ13F, 701QLSJ13F 31943 aoo Boe.t
701RLSI13F, 701SLSJ13F, 701TLSJ13F, 70LULSI13F, S94
701VLSJ13F, 701WLSJ13F
701XLSJ13F, 701YLSI13F, 701ZLSI13F, 7022SJ13F,
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IN SFHALF LUTIO (HK), LTD.

Authorized ry 90 Days Warranty

Title and risk Ir good: fin this Invoice pass to the Buyer upon re
Buyer ag ly with US and Canada Export laws, and ali laws of the importing country. Products should not be sold or
diverted to a nizations, countries, or any end-users, whether your customer or your customer's customer wito are Involve or
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1601-03 Kinwick Centre ,
32 Hollywood Road, Central Hong Kong Date Number
Phone: (852) 2851 2272
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000612 . TT in Advance 7/15/2005 DHL Hong Kong
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702DLS)13F, 702ELSIJ13F, 702FLSIJ13F, 702GLSI13F,
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Buyer agrees tojcoh® and Canada Export laws, and all laws of the importing country. Products should not be sold or

- Buyer or the Seller, ,

RETURN CLAUSE: Our Return.Merchandise Agreement (RMA) gives you a maximum of 30 days (or less depending on ICL Vendor's
own policy, but not to go below 15 days) within which to return an Item. Failure to comply will automatically render the item as
_ . Sold and customer forfeits its right to return. The allowable time frame Is valid from date of acceptance by ICL, for reasons such as
_ factory defect, faulty performance (subject to test at depot), or wrong item delivered. Any reason other than what have been
- specified is subject to deliberation by ICL---upon acceptance however, a restocking fee of 20% will be charged and shall be
ICL NETWORKSOLEETFIONS (EK)? LIMEPEHIN0S Pagnyeige

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identified as engaging in activities related to nuclear / chemical / biological weapons or missile technology or other activities
related to the proliferation or weapons of mass destruction. . All such end-users / applications require Individual Validated Export
Licenses (IVL's) from the US Department of Commerce. Payment by the Buyer constitutes the acceptance of the terms and
conditions of this Invoice which supercede any | inconsistent or additional terms or conditions previously proposed by elther the
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Case 4:05-cv-40153-FDS Document 22-2 Filed 09/22/05 Page 16 of 19

Exhibit B
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~ REMITTANCE SECTION

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